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NOT FOR PUBLICATION                           (Docket Nos. 26, 27, 28, 31)

                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE


_____________________________
                              :
MARY ANN GALATI,              :
Individually and on behalf of :
all others similarly situated,:
                              :
               Plaintiffs,    :          Civil No. 04-3252 (RBK)
          v.                  :          OPINION
                              :
COMMERCE BANCORP, INC.,       :
et al.,                       :
                              :
               Defendants.    :
_____________________________ :



KUGLER, United States District Judge:

      This matter comes before the Court upon separate motions by

Defendant Ronald A. White, Defendants Glen K. Holck and Stephen

M. Umbrell, and Defendants George E. Norcross, III, Vernon W.

Hill, II, Commerce Bancorp, Inc., and Douglas J. Pauls to dismiss

Plaintiffs’ consolidated complaint for failure to state a claim

under Federal Rule of Civil Procedure 12(b)(6). For the reasons

set forth below, Defendants’ motions will be granted.

I.    Background

      Plaintiffs bring this securities fraud class action on

behalf of all persons, excluding Defendants, who purchased the

publicly traded stock of Commerce Bancorp, Inc. (“Commerce

Bank”), during the period from June 1, 2002, through June 28,
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2004. Commerce Bank is a bank holding company located in Cherry

Hill, New Jersey, that operates three hundred retail bank

branches in New Jersey, Pennsylvania, Delaware, and New York.

Defendants include Commerce Bank and a number of directors and

officers of Commerce Bank and its subsidiary Commerce

Bank/Pennsylvania (collectively, “Defendants”). Plaintiffs allege

that Defendants violated §§ 10(b) and 20(a) of the Securities and

Exchange Act of 1934 (“Securities Act”) by failing to disclose

bid-rigging and other unlawful practices committed on behalf of

Commerce Bank during the relevant period.

      The allegations arise out of the events surrounding the June

28, 2004, indictment of three Commerce Bank/Pennsylvania

executives and directors for employing illegal practices to

obtain lucrative business with the City of Philadelphia.

Specifically, Ronald A. White (“White”), Glenn K. Holck

(“Holck”), and Stephen M. Umbrell (“Umbrell”), in their

respective capacities as Commerce Bank/Pennsylvania director,

president, and regional vice-president, bestowed a number of

personal benefits upon Philadelphia Treasurer Cory Kemp (“Kemp”)

in exchange for Kemp’s influence to secure contracts and other

official actions favoring Commerce Bank. Also named as Defendants

are Vernon W. Hill, II (“Hill”), the Chief Executive Officer and

Chairman of Commerce Bank, George E. Norcross, III (“Norcross”),

the Director of Commerce Bank, Director of Commerce Bank/New


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Jersey, and Chairman and Chief Executive Officer of Commerce

Insurance Services, Inc., and Douglas J. Pauls (“Pauls”), the

Chief Financial Officer of Commerce Bank. Plaintiffs claim that

all Defendants had independent actual knowledge of the unlawful

activities that gave rise to the indictment.

      Plaintiffs’ consolidated complaint focuses almost

exclusively on the illegal interactions between Kemp, White,

Holck, and Umbrell. Plaintiffs thoroughly describe the

relationship between Kemp and Commerce Bank/Pennsylvania, and

enumerate in great detail the numerous personal benefits that

Holck, Umbrell, and White conferred on Kemp to obtain City

accounts and bond deals.1 In exchange for these favors, Kemp

channeled City business to Commerce Bank, including a $1.5

million City account in May 2002, $50 million in City deposits in

March 2003, priority in several City bond deals, and inside

bidding assistance for a $30 million line of credit to finance

activities associated with the Mayor of Philadelphia’s

Neighborhood Transformation Initiative. Plaintiffs also identify

specific communications between Commerce Bank/Pennsylvania and


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       Plaintiffs allege that Holck and Umbrell waived conditions
and otherwise assisted Kemp in securing two mortgage loans in
December 2002, which Kemp could not otherwise have obtained due
to his poor credit and clear inability to repay, an automobile
loan in March 2003, a $480,000 construction loan for a church
where Kemp was a trustee in May or June 2003, and an unsecured
loan for Kemp’s brother-in-law. Commerce Bank also endowed Kemp
with several other benefits including expensive dinners and
athletic tickets. (Consol. Compl. ¶ 37-45)

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Defendant Hill, which they allege put Hill on notice of these

practices.

      Plaintiffs claim that Defendants’ illegal activities caused

considerable harm to shareholders, including losses of

approximately $705 million and a drop in value of 23% in the two

days following disclosure of the indictment on June 28, 2004.

Allegedly in response to the indictment, the value of Commerce

Bank’s shares dropped 23% from December 29, 2004, through July

30, 2005.

      In addition to their account of Defendants’ bid rigging and

other unlawful activities, Plaintiffs devote a section of their

complaint to enumerate their claims of “false and misleading

statements [made] during the class period.” These statements

consist entirely of Commerce Bank quarterly earnings releases,

signed and certified by Defendants Hill and Pauls, and filed with

the Securities and Exchange Commission (“SEC”) from August 14,

2002, through May 10, 2004. Plaintiffs allege no statements made

by any Defendants other than Hill and Pauls.

      Plaintiff Mary Ann Galati filed suit against Defendants on

July 2, 2004. On November 23, 2004, the Honorable Joel B. Rosen

ordered consolidation of her suit with a number of complaints by

subsequent Plaintiffs. Plaintiffs then filed a consolidated

complaint on January 24, 2005, on behalf of all individuals

similarly situated, alleging that Defendants failed to disclose


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illegal conduct in violation of §§ 10(b) and 20(a) of the

Securities Act. (Consol. Compl. ¶ 4).2 Defendants now move to

dismiss the consolidated complaint for failure to state a claim

under Federal Rule of Civil Procedure (“Rule”) 12(b)(6).

II.   Standard

A.    Rule 12(b)(6)

      A motion to dismiss under Rule 12(b)(6) should be granted

only if “it appears beyond doubt that plaintiff can prove no set

of facts in support of his claim which would entitle him to

relief.” In re Rockefeller Ctr. Properties, Inc., Sec. Litig.,

311 F.3d 198, 215 (3d Cir. 2002); Klein v. General Nutrition Co.,

186 F.3d 338, 342 (3d Cir. 1999). A motion to dismiss “tests the

legal sufficiency of the complaint.” In re ATI Tech., Inc., Sec.

Litig.,    216 F. Supp. 2d 418, 427 (E.D. Pa. 2002) (citing Holder

v. City of Allentown, 987 F.2d 188, 194 (3d Cir.1993)). “The

inquiry is not whether plaintiffs will ultimately prevail in a

trial on the merits, but whether they should be afforded an


      2
       In addition to the bid-rigging, Plaintiffs claim that
Commerce Bank and Defendant Pauls, the treasurer of Commerce
Bank’s state and federal Political Action Committees (PACs),
engaged in other “illegal, undisclosed, unsustainable activities”
including numerous violations of federal election laws and
elaborate schemes to launder funds to avoid limitations imposed
on political contributions. However, Plaintiffs allege no
misleading statements related to these practices, nor do they
mention Commerce Bank’s campaign contributions in their section
on “False and Misleading Statements During the Class Period”
(Consol. Compl. ¶ 120-123). Consequently, for the purpose of
deciding Defendants’ motions to dismiss, the Court will disregard
these factual allegations as surplusage.

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opportunity to offer evidence in support of their claims.” In re

Rockefeller, 311 F.3d at 215.

      Consequently, the Court must “accept all well-pleaded

allegations in the complaint as true and to draw all reasonable

inferences in favor of the non-moving party.” Id. at 215 (citing

Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)); In re Burlington

Coat Factory Sec. Litig., 114 F.3d 1410, 1420 (3d Cir. 1997).

However, the court need not credit a plaintiff’s “bald

assertions” or “legal conclusions draped in the guise of factual

allegations.” Id.

B.    Rule 9(b) and the Private Securities Litigation Reform Act

      Rule 9(b) imposes a heightened pleading requirement on

allegations of fraud, including claims brought under § 10(b) of

the Securities Act. See In re Rockefeller, 311 F.3d at 216 (“Rule

9(b)’s heightened pleading standard gives defendants notice of

the claims against them, provides an increased measure of

protection for their reputations, and reduces the number of

frivolous suits brought solely to extract settlements.”). Under

Rule 9(b), plaintiffs must state with particularity “the

circumstances constituting fraud or mistake.” Fed. R. Civ. P.

9(b). To satisfy the particularity requirement, the complaint

should include “all of the essential factual background that

would accompany ‘the first paragraph of any newspaper story’--

that is, the ‘who, what, when, where and how’ of the events at


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issue.” Id. at 217 (quoting In re Burlington, 114 F.3d at 1422).

Boilerplate allegations are insufficient. Id.

       In addition to satisfying Rule 9(b), allegations of

securities fraud must accord with the heightened pleading

requirements of the Private Securities Litigation Reform Act of

1995 (PLSRA). 15 U.S.C. § 78u-4(b)(1), (b)(2). Under the PSLRA

the complaint must “specify each statement alleged to have been

misleading [and] the reason or reasons why the statement is

misleading.” In re Rockefeller, 311 F.3d at 217 (“The

particularity described in § 78u-4(b)(1) extends that of Rule

9(b) and requires plaintiffs to set forth the details of

allegedly fraudulent statements or omissions, including who was

involved, where the events took place, when the events took

place, and why any statements were misleading.”). Plaintiffs

must also plead with particularity facts supporting a “strong

inference” of scienter. In re Advanta Corp. Sec. Litig., 180 F.3d

525, 530, 534 (3d Cir. 1999).

III.        Discussion

       Section 10(b) of the Securities Act makes it illegal to “use

or employ, in connection with the purchase or sale of any

security . . . , any manipulative or deceptive device or

contrivance in contravention of such rules and regulations as the

Commission may prescribe.” 15 U.S.C. § 78j(b). Under 17 CFR

section 240.10b-5 (“Rule 10b-5"), it is “unlawful for any person,


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directly or indirectly . . . [t]o make any untrue statement of a

material fact or to omit to state a material fact necessary in

order to make the statements made, in the light of the

circumstances under which they were made, not misleading.” 17 CFR

§ 240.10b-5.3

      To establish a claim for violation of Rule 10b-5, the

plaintiff must allege with particularity that: (1) the defendant

“made a materially false or misleading statement or omitted to

state a material fact necessary to make a statement not

misleading”; (2) the “defendant acted with scienter”; and (3) the

plaintiff's reliance on defendant’s misstatement or omission

injured the plaintiff. In re Burlington, 114 F.3d at 1417 (citing

In re Phillips Petroleum Sec. Litig., 881 F.2d 1236, 1243 (3rd

Cir.1989)); see also In re Advanta, 180 F.3d at 537.


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        Rule 10b-5 reads in its entirety:
      It shall be unlawful for any person, directly or
      indirectly, by the use of any means or instrumentality
      of interstate commerce, or of the mails or of any
      facility of any national securities exchange,
      (a) To employ any device, scheme, or artifice to
      defraud,
      (b) To make any untrue statement of a material fact or
      to omit to state a material fact necessary in order to
      make the statements made, in the light of the
      circumstances under which they were made, not
      misleading, or
      (c) To engage in any act, practice, or course of
      business which operates or would operate as a fraud or
      deceit upon any person, in connection with the purchase
      or sale of any security.

17 CFR § 240.10b-5


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A.    Material False or Misleading Statement or Omission

      Defendants argue that they are not liable under Rule 10b-5

because they neither made a misleading statement, nor had a duty

to disclose the illegal conduct. Plaintiffs claim: (1) Defendants

misleadingly attributed Commerce Bank’s success to its unique

business model and convenience when “its pattern of bribery and

bid-rigging fueled the Company’s results” (Pls. Opp. at 16-17);

(2) Defendants’ quarterly earnings release statements, including

positive commentary and specific reports of government deposits,

were misleading without full disclosure of the illegal practices;

and (3) the failure to reveal criminal conduct is inherently

misleading. As set forth more fully below, none of these

allegations amounts to a materially misleading statement or

omission for the purposes of Rule 10b-5.4

1.    Materiality

      Regardless of its falsity, a misleading statement or

omission is not actionable unless it is material. A

misrepresentation “is material if there is a substantial



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       Plaintiffs allege no misleading statements other than the
SEC filings signed by Defendants Hill and Pauls. Because
liability for violation of Rule 10b-5 rests exclusively on
misleading statements and omissions, Plaintiffs have therefore
failed to plead a violation by any Defendants other than Hill and
Pauls. However, because this Court finds that none of the alleged
statements were in fact materially misleading, the Court will
dismiss the consolidated complaint in its entirety without
addressing Plaintiffs’ failure to plead violations by particular
Defendants.

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 likelihood that a reasonable shareholder would consider it

 important in deciding how to [act].” EP Medsystems, Inc. v.

 EchoCath, Inc., 235 F.3d 865, 872 (3d Cir. 2000) (quoting TSC

 Indus., Inc. v. Northway, Inc., 426 U.S. 438, 449 (1976)); see

 also Basic, Inc. v. Levinson, 485 U.S. 224, 232 (1988) (relating

 this standard specifically to Rule 10b-5). Omitted information is

 material if there is a “substantial likelihood that, under all

 the circumstances, the omitted fact would have assumed actual

 significance in the deliberations of the reasonable shareholder.”

 Craftmatic Sec. Litig. v. Kraftsow, 890 F.2d 628, 639 (3d Cir.

 1989) (quoting TSC Indus., Inc. v. Northway, Inc., 426 U.S. 438,

 449 (1976)). While determinations of materiality are typically

 reserved for the trier of fact, “complaints alleging securities

 fraud often contain claims of omissions or misstatements that are

 obviously so unimportant that courts can rule them immaterial as

 a matter of law at the pleading stage.” In re Burlington, 114

 F.3d at 1426.

       The Third Circuit has consistently held that “[v]ague and

 general statements of optimism,” known as “puffery,” are not

 material since a reasonable investor would be unlikely to rely on

 them to make decisions. Id. Similarly, “statements of subjective

 analysis or extrapolations, such as opinions, motives and

 intentions, or general statements of optimism” do not alter the

 total mix of relevant information available, and therefore are


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 not material. In re Advanta, 180 F.3d at 538 (quoting In re

 Burlington, 114 F.3d 1410, 1428 n.14). Such statements are not

 actionable under Rule 10b-5 as a matter of law. Id.

       In support of their claim, Plaintiffs allege that Defendant

 Hill made remarks attributing Commerce Bank’s success to its

 “unique business model” and “convenience.” (Pls. Opp. at 16-17).

 Plaintiffs claim that Hill’s comments were materially misleading

 because Commerce Bank’s success was actually “fueled by repeated

 criminal conduct.”5 However, the context of these statements

 makes it clear that a reasonable investor would view them as no

 more than boilerplate rhetoric. Although they do not say so

 explicitly, Plaintiffs appear to glean these quotes from a number

 of quarterly earnings releases filed with the SEC during the

 relevant period. The allegedly misleading language is contained

 in several releases, which repeat: “Chairman Hill indicated

 ‘America’s Most Convenient Bank’ continues to produce record

 results” (see earnings releases from Q3:02, Q4:02, Q1:03, Q2:03).

 In the same manner, several of the reports state: “Vernon W.


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        These statements are buried in the consolidated complaint
 in four pages of dense bullet points. (Consol. Compl. ¶ 120-121).
 Plaintiffs do not explain in their complaint “why the
 statement[s] [are] misleading,” In re Rockefeller, 311 F.3d at
 217, nor do they make their “business model” arguments until
 their opposition to Defendants’ motion to dismiss. Consequently,
 these statements likely are not pleaded with particularity
 sufficient to satisfy Rule 9(b) and the PLSRA. Nevertheless,
 because this Court now holds that these statements are
 immaterial, it will not reach the issues presented by Rule 9(b)
 and PLSRA.

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 Hill, II, Chairman, commenting on the Company’s financial results

 said, ‘in the most difficult low-rate operating environment in

 the last 45 years, the unique Commerce business model continues

 to produce strong top-line revenue growth.” (See earnings

 releases from Q3:03, Q4:03, Q1:04).

       These remarks are exactly the sort of vague, general,

 optimistic commentary that the Third Circuit has deemed

 immaterial puffery. Commerce Bank’s slogan “America’s Most

 Convenient Bank” and its claim to a “unique” business model are

 simply too vague and subjective to influence reasonable investors

 or “alter the total mix of information available.” See e.g., In

 re Advanta, 180 F.3d at 539 (holding as immaterial optimistic

 statements such as “[o]ur superior cost structure for delivering

 and servicing financial products allows us to achieve outstanding

 returns with highly competitive pricing and flexibility”).

 Consequently, these statements are not actionable under Rule 10b-

 5.

       In addition to Defendants’ allegedly misleading comments

 about Commerce Bank’s business model, Plaintiffs contend that

 Defendants’ failure to disclose bid-rigging and other criminal

 conduct was a material omission in light of their positive

 earnings statements. Specifically, Plaintiffs claim that

 Defendants were obligated to disclose (1) “the corrupt, illegal

 and unsustainable means that Commerce Bank . . . was utilizing to


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 develop banking business with state, city and municipal

 authorities”; and (2) “the attendant risks that such practices

 were creating for the future prospects of the Company.” (Consol.

 Compl. ¶ 48). As explained below, Defendants’ illegal activities

 were material, but the failure to disclose “the attendant risks”

 of those activities was not.

       Information about a corporation’s illegal conduct is

 inherently material for the purposes of Rule 10b-5. See e.g.,

 Roeder v. Alpha Indus., Inc., 814 F.2d 22, 26 (1st Cir. 1987)

 (holding that a company’s practice of bribery is material

 information, even if the criminal conduct has not yet become the

 subject of investigation). Naturally, a reasonable investor would

 give considerable weight to a corporation’s unlawful practices.

 As the First Circuit explained in the oft-cited opinion Roeder v.

 Alpha Industries, Inc., 814 F.2d at 26, “Management’s willingness

 to engage in practices that probably or obviously are illegal,

 and its decision to put the corporation at risk by so doing, may

 be critically important factors to investors,” particularly since

 “[i]nvestors may prefer to steer away from an enterprise that

 circumvents fair competitive bidding and opens itself to

 accusations of misconduct.” Id.

       Defendants argue that the Bank’s bid-rigging practices were

 immaterial because they relate to a negligible portion of

 Commerce Bank’s business and contribute only a small percentage


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 to Commerce Bank’s total deposits and revenue. However, the

 materiality of criminal activities is unaffected by the extent of

 the illegal conduct; after all, “[i]llegal payments that are so

 small as to be relatively insignificant to the corporation’s

 bottom line can still have vast economic implications,” as they

 may endanger all of a corporation’s business if they are

 discovered. Id. Furthermore, “[i]nformation about bribery is

 relevant to important questions about the competency of

 management.” Id. Consequently, a corporation’s unlawful practices

 are material, even if the practices relate to only a minor aspect

 or portion of the business.

       However, while omissions regarding criminal conduct are

 material, omissions relating to “the attendant risks” or

 unsustainability of criminal conduct are not. Even if a

 corporation is engaging in illegal practices, predictions of

 future events such as criminal indictments are too speculative to

 be material. See Craftmatic, 890 F.2d at 640-41. The Third

 Circuit addressed precisely this point in Craftmatic when

 plaintiffs alleged that that the corporation’s “advertising and

 marketing program was based on deceptive, illegal sales practices

 that ‘would and did result in serious charges being brought

 against Craftmatic.” The Court dismissed plaintiffs’ claim,

 holding that the possibility of criminal charges was

 “sufficiently speculative and unreliable to be immaterial as a


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 matter of law.” Id. at 644. The Court then employed the same

 reasoning to dismiss allegations that Craftmatic’s unlawful

 practices created serious risks for the corporation and were “not

 sustainable.” Id.

       Consequently, as a matter of law, the risks inherent in

 Commerce Bank’s unsustainable illegal practices were too

 speculative to be material. Only information regarding

 Defendants’ illegal conduct itself is material under Rule 10b-5.

 2.    Misleading Statement or Omission

       Although Rule 10b-5 prohibits corporations from making

 material misstatements of fact, corporations need not actively

 disclose information--even material information--unless there

 exists a “duty to speak.” Chiarella v. United States, 445 U.S.

 222, 235 (1980); In re Burlington, 114 F.3d at 1432 (“Except for

 specific periodic reporting requirements . . . there is no

 general duty on the part of a company to provide the public with

 all material information.”). Only misleading statements are

 actionable under Rule 10b-5, and silence, “absent a duty to

 disclose,” is not inherently misleading. Basic, 485 U.S. at 239

 n.17. Consequently, although information concerning Commerce

 Bank’s illegal practices was material, Defendants were

 nevertheless under no obligation to reveal the information unless

 they had a preexisting duty to do so.

       In circumstances where there is no insider trading or


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 statute requiring disclosure, a duty to disclose likely exists

 only in the presence of “an inaccurate, incomplete or misleading

 prior disclosure.” Oran v. Stafford, 226 F.3d 275, 285-86 (3d

 Cir. 2000); In re Campbell Soup Co. Sec. Litig., 145 F. Supp. 2d

 574, 583 (D.N.J. 2001) (holding that once a corporation has

 chosen to make a disclosure, “the disclosing party has an

 obligation to ensure that the representations are accurate”)

 (citing Virginia Bankshares, Inc. v. Sandberg, 501 U.S. 1083,

 1098 n.7 (1991)). Consequently, Defendants are liable under Rule

 10b-5 for failure to disclose their illegal practices only if

 Plaintiffs can point to a statement that was rendered inaccurate

 or misleading by the omission.

       For the purposes of Rule 10b-5, “[a] statement is false or

 misleading if it is factually inaccurate, or additional

 information is required to clarify it.” In re Nice Sys., Ltd.

 Sec. Litig., 135 F. Supp. 2d 551, 573 (D.N.J. 2001). A statement

 is also misleading if “when viewed in the light of the

 circumstances under which it was made, [it] presented a false

 report of the facts.” Jaroslawicz v. Engelhard, Corp., 704 F.

 Supp. 1296, 1306 (D.N.J. 1989) (citing Associated Builders, Inc.

 v. Alabama Power Co., 505 F.2d 97, 101 (5th Cir. 1974).

       Plaintiffs allege that Defendants’ “positive statements

 about growth in Commerce Bank’s government and public deposits”

 and “positive statements about growth in Commerce Bank’s


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 investment banking fees at Commerce Capital Markets” created a

 duty to tell the “whole truth” about Defendants’ illegal

 activities. (Consol. Compl. ¶ 122). In support of this claim,

 Plaintiffs list a number of excerpts from Commerce Bank’s

 quarterly filings with the SEC. (Consol. Compl. ¶ 120-121). These

 filings are composed primarily of empirical listings of Commerce

 Bank’s deposits, revenue, and percentages of growth. Accompanying

 these financial performance figures are self-congratulatory

 comments such as “dramatic deposit growth,” “record growth,”

 “record deposits growth,” and “strong top-line revenue growth”

 (Pls. Opp. at 15). Plaintiffs allege that these positive reports

 were misleading without the disclosure of Defendants’ criminal

 conduct.

       However, as long as they are accurate, earnings statements

 themselves do not create liability under Rule 10b-5. See e.g., In

 re ATI Technologies, Inc. Sec. Litig., 216 F. Supp. 2d 418, 433

 (E.D. Pa. 2002) (holding that “ATI’s announcements of its

 quarterly and yearly earnings, gross margins, sales, etc., were

 not material misrepresentations”). To hold otherwise would be to

 establish per se liability under Rule 10b-5 for any material

 information related to corporate earnings releases--a result that

 would be almost indistinguishable from creating a general duty of

 disclosure.

       The Third Circuit has made it clear that corporations are


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 not liable merely for reporting past successes. See e.g., In re

 Advanta, 180 F.3d at 538 (“Factual recitations of past earnings,

 so long as they are accurate, do not create liability under

 Section 10(b)); In re Burlington, 114 F.3d at 1432 (“Equally well

 settled is the principle that an accurate report of past

 successes does not contain an implicit representation that the

 trend is going to continue, and hence does not, in and of itself,

 obligate the company to update the public as to the state of the

 quarter in progress.”). Statements claiming deposit growth of 48%

 or total revenues of “$8.1 million for the second quarter of 2002

 compared to compared to $5.3 million for the second quarter of

 2002, a 54% increase,” (Consol. Compl. ¶ 121), state nothing more

 than empirical facts. So long as those numbers are accurate, they

 cannot create Rule 10b-5 liability.

       Nor are Defendants liable for vague positive remarks

 accompanying earning releases. In Advanta, plaintiffs claimed

 that a number of statements in letters to shareholders, annual

 reports, and other publications were misleading in light of the

 corporation’s questionable business techniques and the

 deterioration in credit quality attributable its “aggressive

 efforts to attract new customers.” In re Advanta, 180 F.3d at

 538. However, in examining the allegedly misleading statements,

 the Third Circuit found that each statement was non-actionable as

 either an accurate report of past earnings or an expression of


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 optimism.6

       Plaintiffs’ argument that the failure to reveal criminal

 conduct is per se misleading is also without merit. Plaintiffs

 cite In re Initial Public Offering Sec. Litig., 241 F. Supp. 2d

 281, 381-82 (S.D.N.Y. 2003), for the proposition that concealing

 illegal activity is inherently misleading. However, In re Initial

 Public Offering addressed market manipulation, holding only that

 “[w]here a defendant has engaged in conduct that amounts to

 ‘market manipulation’ under Rule 10b-5(a) or (c), that misconduct

 creates an independent duty to disclose.” Id.

       Although there is no Third Circuit case directly addressing

 a corporation’s obligation to disclose criminal conduct, the

 First Circuit held in Roeder that the defendant corporation’s


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        These statements include, “Advanta’s credit quality
 continues to be among the best in the industry. Our emphasis on
 gold cards--and targeting of high quality customer prospects with
 great potential for profitability--sets us apart from other
 credit card issuers”; “The Company is among the most efficient
 producers in the credit card industry. Our superior cost
 structure for delivering and servicing financial products allows
 us to achieve outstanding returns with highly competitive pricing
 and flexibility”; “Our emphasis on gold cards--and targeting of
 better quality customers--helps us maintain an enviable credit
 quality profile. Gold cards made up 82% of our credit card
 balances in 1995, nearly double the industry average”; “Despite
 industry-wide pressure on credit card asset quality, Advanta
 continued to produce better-than-industry credit measures, and
 achieved excellent growth and returns throughout our core
 businesses”; “The Company’s credit card asset quality statistics
 continue to be better than industry averages”; and touting of
 Advanta’s strengths, including “an experienced management team,
 technological expertise . . . and expanding distribution
 channels.” In re Advanta, 180 F.3d at 539.


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 failure to disclose its practice of paying bribes to obtain

 subcontracts was not inherently misleading. Roeder, 814 F.2d at

 22. Additionally, the Third Circuit has observed that “the

 nondisclosure of a statutory violation may be an omission of

 information necessary to make other statements not misleading,”

 suggesting that the failure to disclose criminal conduct is not

 necessarily misleading in itself. Craftmatic, 890 F.2d at 640

 (emphasis added).

       Furthermore, “the private cause of action under § 10(b) and

 Rule 10b-5 is designed to implement the Congressional intent to

 regulate securities transactions.” Straub v. Vaisman & Co., Inc.,

 540 F.2d 591, 599 (3d Cir. 1976). Rule 10b-5 was not intended to

 provide shareholders with an avenue for relief against executives

 for alleged illegal practices or corporate mismanagement. See

 e.g., In re Citigroup, Inc., Sec. Litig., 330 F. Supp. 2d 367

 (S.D.N.Y. 2004) (“The securities laws were not designed to

 provide an umbrella cause of action for the review of management

 practices.”). Consequently, the illegality of Defendants’ conduct

 does not establish a Rule 10b-5 violation unless Defendants made

 a misleading statement in conjunction with the conduct.

       As Plaintiffs have failed to specify any material

 misstatement or omission sufficient to establish liability under

 Rule 10b-5, Plaintiffs’ allegations under Rule 10b-5 must be




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 dismissed.7

 B.    Control Person Liability

       In addition to their claims under Rule 10b-5, Plaintiffs

 allege that Defendants are liable under § 20(a) of the Securities

 Act. Section 20(a) provides for derivative liability of “control

 persons” in the event of a violation of the Securities Act. 15

 U.S.C. § 78t. A cause of action for control person liability

 requires plaintiffs to establish: “(1) an underlying violation by

 a controlling person or entity; (2) that the defendants are

 ‘controlling persons;’ and (3) that the defendants were in some

 meaningful sense culpable participants in the fraud.” In re

 Digital Island Sec. Litig., 223 F. Supp. 2d 546, 560 (D. Del.

 2002) (quoting In re Party City Sec. Litig., 147 F. Supp. 2d 282,

 317 (D.N.J. 2001)).

       Where plaintiffs cannot establish “an underlying violation”

 of the Securities Act, a § 20(a) claim must be dismissed since

 “[l]iability under section 20(a) is predicated upon an

 independent violation of ‘this chapter or the rules or

 regulations thereunder.’” In re Advanta, 180 F.3d at 541 (quoting

 15 U.S.C. § 78t); see also Greebel v. FTP Software, Inc., 194

 F.3d 185, 207 (1st Cir. 1999) (holding that absent an underlying



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        Because this Court now finds that Plaintiffs alleged no
 statement or omission sufficient to create liability under Rule
 10b-5, the Court will not reach Defendants’ arguments regarding
 scienter, reliance, or causation.

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 violation of the securities laws, a § 20(a) claim cannot stand).

       Accordingly, because this Court now finds that Plaintiffs

 have not stated a claim under Rule 10b-5, Plaintiffs allegations

 of control person liability under § 20(a) must be dismissed for

 lack of an underlying violation of the Securities Act.

       The accompanying Order shall issue today.



 Dated:    11-7-05              S/ Robert B. Kugler
                              ROBERT B. KUGLER
                              United States District Judge




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